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                                   COURTROOM MINUTES
                               SENTENCING / JUDICIAL REVIEW

         6/4/2019              Tuesday                           1:07 pm                      1:29 pm
DATE: ____________    DAY: ______________        START TIME: ______________     END TIME: ______________
                    WMC                                  JLS                                 CS
JUDGE/MAG.: ___________________          CLERK: _____________________   REPORTER: ____________________
                            M. Johnson
PROBATION OFFICER: _________________ INTERPRETER: _________________ SWORN:
             18-cr-139-wmc-1
CASE NUMBER: _______________________                   Johnell L. Britt
                                     CASE NAME: USA v. _____________________________________


APPEARANCES:
AUSA: Rita Rumbelow
      ____________________________________         DEFENDANT ATTY.: William Jones
                                                                    ________________________________
      ____________________________________                              ________________________________
                                                   DEFENDANT PRESENT: YES


SENTENCING GUIDELINE RANGE:
                               23
      TOTAL OFFENSE LEVEL: __________                                           3
                                                 CRIMINAL HISTORY CATEGORY: __________
                                                 57            71
      ADVISORY GUIDELINE IMPRISONMENT RANGE: __________ to __________ MONTHS.


SENTENCE:
                 1
COUNT(S) _______________:       INDICTMENT           INFORMATION
            1          84           3                 100 CA; $ ___________ REST.; $ __________ FINE.
CBOP CT. _______;    ______ MOS.; ______ YRS. S/R; $ ______
      CT. _______;   ______ MOS.; ______ YRS. S/R; $ ______ CA; $ ___________ REST.; $ __________ FINE.
      VOLUNTARY SURRENDER: _______________ between __________ and __________;
      RELEASE CONDITIONS CONTINUED.
      DETAINED.


ACTIONS:
      PLEA AGREEMENT ACCEPTED
      DEFENDANT ADVISED OF RIGHT TO ALLOCUTE (OPPORTUNITY TO SPEAK)
      DEFENDANT ADVISED OF RIGHT TO APPEAL
      GOVERNMENT MOTION TO DISMISS REMAINING COUNTS GRANTED
      REVOKED


NOTES:
 Defendant waives reading of the conditions.
_________________________________________________________________________________________________
_________________________________________________________________________________________________
_________________________________________________________________________________________________
                                                                                               22 min
                                                                           TOTAL COURT TIME: __________
